 Case: 4:09-cr-00601-HEA        Doc. #: 173 Filed: 03/19/10         Page: 1 of 1 PageID #:
                                           347



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )    No. 4:09CR601 HEA
                                             )
OMAR FIGUEROA SOLIS,                         )
                                             )
              Defendant.                     )

                                    AMENDED ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Monday, May 3, 2010, at 11:30 a.m. in the courtroom of the undersigned.

       Dated this 19th day of March, 2010.




                                             ________________________________
                                                HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE
